         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 1 of 27




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

                                                        Case No. 22-mj- 52-01-AJ
IN THE MATTER OF THE SEARCH OF
ONE RED IPHONE AND ONE ORANGE
IPHONE SEIZED FROM MICHAEL
WILCOX, NOW IN THE CUSTODY OF HSI
MANCHESTER, 275 CHESTNUT ST.                            Filed Under Seal




                              AFFIDAVIT IN SUPPORT OF
                         APPLICATION FOR SEARCH WARRANT

               I, Adam Rayho, a Task Force Officer with the United States Department of

Homeland Security, Immigration and Customs Enforcement (“ICE”), Homeland Security

Investigations (“HSI”), being duly sworn, depose and state as follows:

          1.      I am a detective with the Nashua, New Hampshire Police Department, and a

deputized task force officer (TFO) for HSI. I became a certified police officer in the State of

New Hampshire in May 2014 after graduating from the 164th New Hampshire Police Standards

and Training Academy. I have also completed HSI’s Task Force Officer Course. I hold a

bachelor’s degree in criminal justice, with a minor in Computer Science and Victimology, from

Endicott College. Since November 2019, I have been assigned to the Special Investigations

Division as a member to the New Hampshire Internet Crimes Against Children (ICAC) Task

Force, which includes numerous federal, state, and local law enforcement agencies conducting

proactive and reactive investigations involving online child exploitation. As a TFO, I am

authorized to investigate violations of federal laws and to execute warrants issued under the

authority of the United States. Specifically, as a TFO and a member of the ICAC, I investigate
          Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 2 of 27




criminal violations related to online sexual exploitation of children. I have received training in

the areas of child sexual exploitation including, but not limited to, possession, distribution,

receipt, and production of child pornography, and interstate travel with intent to engage in

criminal sexual activity, by attending training hosted by the ICAC involving online undercover

chat investigations and interview/interrogation. I have also participated in numerous online

trainings hosted by the Federal Bureau of Investigation Child Exploitation and Human

Trafficking Task Force Online Covert Employee Development Series. These trainings focused

on live stream investigations, using undercover personas on various social media applications for

proactive investigations, including on Kik Messenger. In addition, I have completed the

Cellebrite Certified Operator and Cellebrite Certified Physical Analyst course in mobile

forensics. As part of my duties, I have observed and reviewed examples of child pornography (as

defined in 18 U.S.C. § 2256) in various forms of media, to include digital/computer media.

During the course of this investigation, I have also conferred with other investigators who

specialize in computer forensics and who have conducted numerous investigations which

involved child sexual exploitation offenses.

          2.      I am a “Federal law enforcement officer” within the meaning of Federal Rule

of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal

laws and duly authorized by the Attorney General to request a search warrant.

          3.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant relating to two iPhone’s, a black iPhone and

Orange/Pink iPhone (hereafter “SUBJECT DEVICES”), belonging to Michael Wilcox,

(hereafter “WILCOX”) who is the target of an ongoing investigation into distribution of child

pornography. This affidavit is submitted in support of a warrant to search the SUBJECT

DEVICES, described in Attachment A for the things described in the respective Attachment B –

                                                 2
          Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 3 of 27



specifically, evidence, fruits, and instrumentalities ofviolations of Title 18, United States Code,

Sections 2252(a)(2), (a)(1); 2252A(a)(2) and 2252A(a)(1), the illegal distribution and

transportation of child pornography.

          4.      During the course of this investigation, I have conferred with other

investigators who have conducted numerous investigations and executed numerous search and

arrest warrants which involved child exploitation and/or child pornography offenses. This

affidavit is intended to show only that there is sufficient probable cause for the requested

warrant and does not set forth all of my knowledge about this matter. The facts set forth in this

affidavit are based in part on my personal knowledge, information obtained during my

participation in this investigation, information from others, including law enforcement officers,

my review of documents and computer records related to this investigation, and information

gained through my training and experience.

                                  STATUTORY AUTHORITY

          5.      This investigation concerns alleged violations of 18 U.S.C. §§ 2252(a)(1),

(a)(2), 2252A(a)(2) and 2252A(a)(1), related to the distribution and transportation of child

pornography in the District of New Hampshire and the Eastern District of Pennsylvania. Title

18 U.S.C. §§ 2252(a)(2), 2252A(a)(2) makes it a crime for any person to knowingly receive or

distribute any child pornography that has been mailed, or using any means or facility of

interstate or foreign commerce, or that has been shipped or transported in or affecting interstate

or foreign commerce by any means, including by computer. Title 18 U.S.C. §§ 2252(a)(1),

2252A(a)(1) makes it a crime for any person to knowingly mail, or transport or ship using any




                                                 3
           Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 4 of 27



means or facility of interstate or foreign commerce or in or affecting interstate or foreign

commerce by any means, including by computer, any child pornography.

                                          DEFINITIONS

           6.     “Chat” refers to any kind of communication over the Internet that offers a real-

time transmission of text messages from sender to receiver. Chat messages are generally short in

order to enable other participants to respond quickly and in a format that resembles an oral

conversation. This feature distinguishes chatting from other text-based online communications

such as Internet forums and email.

           7.     “Child pornography” includes any visual depiction, including any

photograph, film, video, picture, or computer or computer-generated image or picture, whether

made or produced by electronic, mechanical, or other means, of sexually explicit conduct

where (A) the production of the visual depiction involved the use of a minor engaged in

sexually explicit conduct; (B) the visual depiction was a digital image, computer image, or

computer-generated image that is, or is indistinguishable from, that of a minor engaged in

sexually explicit conduct; or (C) the visual depiction has been created, adapted, or modified to

appear that an identifiable minor is engaged in sexually explicit conduct. 18 U.S.C. § 2256(8).

8.      “Minor” means any person under the age of eighteen years.        See 18 U.S.C. §

2256(1).

           9.     “Sexually explicit conduct” means actual or simulated (a) sexual intercourse,

including genital-genital, oral-genital, or oral-anal, whether between persons of the same or

opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious

exhibition of the anus, genitals or pubic area of any person. See 18 U.S.C. § 2256(2).




                                                 4
          Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 5 of 27




          10.     “Visual depictions” include undeveloped film and videotape, and data stored

on computer disk or by electronic means, which is capable of conversion into a visual image.

See 18 U.S.C. § 2256(5).

          11.     “Computer,” as used herein, is defined pursuant to 18 U.S.C. § 1030(e)(1) as “an

electronic, magnetic, optical, electrochemical, or other high speed data processing device

performing logical or storage functions and includes any data storage facility or communications

facility directly related to or operating in conjunction with such device.” These devices include but

are not limited to any data-processing hardware (such as central processing units, memory

typewriters, mobile “smart” telephones, tablets, and self-contained “laptop” or “notebook”

computers).

          12.     “Internet Service Providers” (“ISPs”), as used herein, are commercial

organizations that are in business to provide individuals and businesses access to the Internet. ISPs

provide a range of functions for their customers including access to the Internet, web hosting, e-

mail, remote storage, and co-location of computers and other communications equipment. Many

ISPs assign each subscriber an account name – a username or screen name, an “e-mail address,”

an e-mail mailbox, and a personal password selected by the subscriber. By using a computer

equipped with a modem, the subscriber can establish communication with an Internet Service

Provider (“ISP”) over a telephone line, through a cable system or via satellite, and can access the

Internet by using his or her account name and personal password.

          13.     “Internet Protocol address” or “IP address” refers to a unique number used by a

computer to access the Internet. IP addresses can be “dynamic,” meaning that the ISP assigns a

different unique number to a computer every time it accesses the Internet. IP addresses might also

be “static,” if an ISP assigns a user’s computer a particular IP address which is used each




                                                 5
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 6 of 27




time the computer accesses the Internet.       IP addresses are also used by computer servers,

including web servers, to communicate with other computers.


                 CHARACTERISTICS OF CHILD PORNOGRAPHY COLLECTORS

          14.    I know from my training and experience that the following characteristics

are prevalent among individuals who collect child pornography:

                 a.      The majority of individuals who collect child pornography are

  persons who have a sexual attraction to children. They receive sexual gratification and

  satisfaction from sexual fantasies fueled by depictions of children that are sexual in nature.

                 b.      The majority of individuals who collect child pornography may

  collect explicit materials, which may consist of photographs, computer graphics or digital

  or other images for their own sexual gratification. The majority of these individuals may

  also collect child erotica, which may consist of images or text that do not rise to the level

  of child pornography, but which nonetheless fuel their sexual fantasies involving children.

                 c.      Individuals who collect child pornography may often seek out like

  minded individuals, either in person or via the Internet, to share information and trade

  depictions of child pornography and child erotica as a means of gaining status, trust,

  acceptance and support. The different Internet based vehicles used by such individuals to

  communicate with each other include, but are not limited to, peer to peer, e mail, bulletin

  boards, Internet relay chat, newsgroups, instant messaging, and other similar vehicles.

                 d.      Individuals who collect child pornography may maintain books,

  magazines, newspapers and other writings, in hard copy or digital medium, on the subject

  of sexual activities with children as a way of understanding their own feelings toward

  children, justifying those feelings and finding comfort for their illicit behavior and desires.

  Such individuals rarely destroy these materials because of the psychological support they

                                                 6
          Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 7 of 27



   provide.

                   e.     Individuals who collect child pornography often may collect, read,

   copy or maintain names, addresses (including e mail addresses), phone numbers, or lists of

   persons who have advertised or otherwise made known in publications and on the Internet

   that they have similar sexual interests. These contacts are maintained as a means of

   personal referral, exchange or commercial profit. These names may be maintained in the

   original medium from which they were derived, in telephone books or notebooks, on

   computer storage devices, or on scraps of paper.

                   f.     Individuals who collect child pornography rarely, if ever, dispose of

   their sexually explicit materials and may go to great lengths to conceal and protect their

   collection of illicit materials from discovery, theft, and damage. However, some

   individuals may dispose of their collection of their sexually explicit materials or only seek

   them out when they want to view them in order to conceal their activities for fear of being

   caught.

                                      PROBABLE CAUSE


             15.   As a Detective assigned to the Special Investigations Division working with

Homeland Security Investigations and the Internet Crimes against Children Task Force, I

maintain undercover profiles used in the investigation of the sexual exploitation of children.

The undercover profile and persona used during this investigation was that of a 35-year-old

father of two minor children.

             16.   On January 28, 2022, I was monitoring the website                      e.com

in the “teen” chat room. I know this particular website to commonly be associated with child

exploitation based on previous investigations and discussions with other investigators. I

posted in the room advising I was a father of two and received a private message from the

                                                 7
          Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 8 of 27



user “Heyyyt”. Below outlines the items of investigative interest from the conversation on

Chat-Avenue (“UC” refers to undercover agent, and indicates messages I sent):

  Heyyt: Dad of who

  UC: 2 kids

  UC: 8 n 10

  Heyyt: Girls?

  UC: Yes

  Heyyt: Age

  UC: 35

  UC: U

  Heyyt: 32 dad

  UC: How old r ur kids

  Heyyt: 4 g

  UC: where u from

   Heyyt: Ny

   UC: nice im from NH

   Heyyt: Close

   Heyyt: Ever think about meet

   UC: ya sometimes

   Heyyt: Ever do it

   UC: just for a beer

   UC: didn’t like the guy he was weird and didn’t get a good vibe

   UC: his kid was 7

   Heyyt: Have u had urs

   UC: peeks
                                               8
          Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 9 of 27



   Heyyt: So virgin?

   UC: im more into watching

   UC: yes

   UC: like watching some1 with her

   UC: wbu?

   Heyyt: Would u like that

   UC: like what?

   Heyyt: Watching

   UC: yes

   Heyyt: Both or 1

   UC: just the 8

   UC: wont let any1 with the 10

   Heyyt: Ok

   Heyyt: Why

   UC: shes mine

   UC: 8 is step

   UC: is urs available ?

   Heyyt: If u want

          17.       Continuing on January 28, 2022, I provided “Heyyt” with my undercover

Kik username and began speaking on the Kik application. Kik is a free application that can be

downloaded on an Android or iOS device permitting users to chat with other individuals one-

on-one and in groups as well as share pictures and videos. Each user has the ability to create a

screen name which can be changed at any time. It uses a smartphone’s data plan or Wi-Fi to

allow the user to transmit and receive messages, photos, videos, sketches, mobile webpages,

and other content over the internet after the user registers a username.
                                                  9
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 10 of 27



          18.     On the Kik application, “Heyyt” used the Kik username “heyyyydude1.”

During conversations which occurred between January 28, 2022 and February 20, 2022,

“heyyyydude1” informed me he sells child pornography, and advised an initial price of $45

for 200 files. During the conversation, “heyyyydude1” also distributed child pornography.

Below outlines the items of investigative interest from the conversation between me, referred

to as the “UC,” and “heyyyydude1” on Kik:

   January 28, 2022

          UC: Wyd

          heyyyydude1: Rubbing

          UC: Who

          heyyyydude1: Myself

          UC: Watching anything good?

          heyyyydude1: Young

          UC: Can I see

          heyyyydude1: I sell vids

          UC: Of what?

          heyyyydude1: Young porn

          UC: How much?

          heyyyydude1: 45$

          heyyyydude1: 200 vids

          UC: Sample?

          UC: I’m into certain ages

          heyyyydude1: Age

          UC: 5-12

          heyyyydude1: user transmits a one-minute and seventeen-second video of a naked
                                             10
     Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 11 of 27



      prepubescent girl performing oral sex on an adult male penis. At the end of the

      video the male masturbates and ejaculates in the prepubescent girl’s mouth. In

      identifying the female depicted in the video as prepubescent, I base this conclusion

      off her body size, body structure, facial features, and lack of breast development.

      UC: nice

      UC: she like ur daugh age

      heyyyydude1: Yea

      UC: How do I pay for 200 vids?

      heyyyydude1: Cashapp

      UC: …Are all the vids like the one u sent?

      heyyyydude1: YeA

      heyyyydude1: No some better

      UC: Better?

      heyyyydude1: Yea

      heyyyydude1: Sex

      UC: ahh nice

      UC: All of that same girl?

      heyyyydude1: Nah

      heyyyydude1: user transmits a fourteen-second video of a naked prepubescent

      female lying on her back slightly covered by a blanket. An adult male is inserting

      his penis into the prepubescent female’s vaginal opening. In identifying the female

      depicted in the video as prepubescent, I base this conclusion off her body size, body

      structure, facial features, lack of pubic hair and lack of breast development.

February 01, 2022

      heyyyydude1: I m jerking
                                            11
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 12 of 27



          UC: To what?

          heyyyydude1: Thinking of her…lol

          UC: That’s it?

          heyyyydude1: Vids

          UC: Nice which 1s

          heyyyydude1: Youngg

          heyyyydude1: user transmits a fourteen-second video of a naked prepubescent girl

          lying on her back slightly covered by a blanket. An adult male is inserting his penis

          into the girl’s vaginal opening. In identifying the female depicted in the video as

          prepubescent, I base this conclusion off her body size, body structure, facial

          features, lack of pubic hair and lack of breast development.

          UC: U showed me that one

          heyyyydude1: one-minute and two-second video of a prepubescent girl laying on

          her back. The prepubescent girl is wearing a shirt and her bottoms are pulled

          down around her ankles. An adult male is inserting his penis into the prepubescent

          girl’s anal opening. In identifying the female depicted in the video as prepubescent,

          I base this conclusion off her body size, body structure, and lack of pubic hair.

          19.    On February 1, 2022, I spoke with heyyyydude1 regarding the purchase of

child pornography. Heyyyydude1 advised I could use PayPal or CashApp to pay him.

Heyyyydude1 provided an email address of                 @yahoo.com to locate him on

PayPal. Heyyyydude1 provided a code to use on CashApp which would allow him to receive

an extra monetary amount for a referral fee. I clicked on the code which loaded the CashApp

profile of “Michael Wilcox” with the username “$istayhi1”. Additionally, I provided

heyyyydude1 the CashApp username for an HSI Undercover Agent (“UCA”) and shortly

thereafter, the HSI UCA received a monetary request from the user “Michael Wilcox” with
                                              12
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 13 of 27



the username $istayhi.

          20.    On February 2, 2022, an HSI UCA transferred heyyyydude1 a sum of US

currency via CashApp in exchange for child pornography. Later, on February 2, 2022,

heyyyydude1 distributed the following files, via Kik, which qualified as child pornography,

as defined in 18 U.S.C. § 2256, and which are described as follows:

  Filename: IMG_1751.jpg

  Description: Image of a naked prepubescent girl lying on her stomach. The girl’s

  anal/vaginal openings are exposed and she has a white liquid substance on her buttocks. In

  describing the female depicted as prepubescent, I base this conclusion off her body size,

  body structure, facial features, and lack of pubic hair.

  Filename: IMG_1747.mp4

  Description: one-minute and two-second video of a prepubescent female laying on her

  back. The prepubescent female has a top on and her bottoms are pulled down around her

  ankles. An adult male is inserting his penis into the girl’s anal opening. In identifying the

  female depicted in the video as prepubescent, I base this conclusion off her body size,

  body structure, and lack of pubic hair.

  Filename: IMG_1753.mp4

  Description: twenty-three second video of a naked prepubescent girl lying on her back. An

  adult male is masturbating over the prepubescent girl and eventually ejaculates on the

  prepubescent girl’s chest/mouth. In identifying the female depicted in the video as

  prepubescent, I base this conclusion off her body size, body structure, facial features, and

  lack of breast development.

  Filename: IMG_1754.mp4

  Description: 11-second video of an adult male rubbing and slightly inserting his penis into

  the mouth of a prepubescent girl. In identifying the female depicted in the video as
                                                13
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 14 of 27



   prepubescent, I base this conclusion off her body structure and facial features.

   Filename: IMG_1755.mp4

   Description: 45-second video of an adult male rubbing his penis on the vaginal/anal

   opening of a prepubescent girl. As the video continues, the girl is lying on her back naked

   with her vaginal opening visible. There is a white liquid substance in the area of her

   vaginal opening. In identifying the female depicted in the video as prepubescent, I base

   this conclusion off her body size, body structure, facial features, lack of breast

   development, and lack of pubic hair.

           21.      On January 31, 2022, I served Kik with a summons to obtain subscriber

information for the Kik account heyyyydude1. The Kik records returned showed the user

utilized the email address              @gmail.com to create his Kik account. Using the

research database TLO, I searched the email address                  @gmail.com which showed

it was associated with Michael Wilcox (DOB:               1989) of                      ,

                 Berlin, NJ.

           22.      The Kik records also showed the target only used a Verizon IP address to

access the Kik chat network from January 26, 2022 to February 6, 2022. The IP address is

identified as             191 and was used 231 times. I later issued a summons to Verizon to

obtain subscriber information for the IP address which showed the subscriber was Sarah

Wothers of                                  , Philadelphia PA. An open-sourced Facebook

search showed Sarah Wothers (DOB:                      1989) who resided in Philadelphia, PA.

           23.      On February 13, 2022, I received a message from heyyyydude1 containing

a link to MEGA. Through my training and experience, I know MEGA is a New Zealand-

based cloud-storage and file-sharing website that uses end-to-end data encryption which

prevents the company from seeing files that are stored on user accounts. Furthermore,

MEGA is not required to report instances of child pornography on its platform as it is not a
                                               14
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 15 of 27



U.S.-based electronic service provider.

          24.     In the days leading up to the MEGA link being sent, I had been speaking

with heyyyydude1 on Kik discussing the additional purchase of child pornography.

Heyyyydude1 had offered additional child pornography for US currency, but I had mentioned

I had not fully received all of the earlier agreed upon files. Following the MEGA link being

sent on February 13, 2022, heyyyydude1 stated, “I need some type of money for that please”.

          25.     I observed that the link sent by heyyyydude1 was for a MEGA folder titled

“Telegram” which contained 481 files. I downloaded files from the folder and using Griffeye,

I identified 8 files which qualified as child pornography within the meaning of 18 U.S.C.

§ 2256. Of the 8 files classified as child pornography, 3 were identified as known files in

which the victim and offender have been identified. The three known files are described as:

   Filename: IMG_20180222_195857_085.jpg

   Series: US/CAIT (child victim and offender identified)

   Description: Image of a female child lying on her back naked. A white liquid substance is

   covering portions of her stomach.

   Filename: IMG_20180228_193726_957.jpg

   Series: DE/STB-MARIE/PLAY (child victim and offender identified)

   Description: Image of a naked girl sitting in a chair. The girl has a yellow rope tied around

   her wrists and ankles. The female child’s legs are spread open exposing her vaginal area.

   Filename: IMG_20180224_182740_909.jpg

   Series: MASHA B (child victim and offender identified)

   Description: Image of a naked female child lying on her back with her legs spread

   exposing her vaginal area.

          26.     On February 16, 2022 while speaking with heyyyydude1 on Kik regarding

the MEGA link which was sent three days earlier, he advised he had an additional link with
                                              15
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 16 of 27



more files. Heyyyydude1 proceeded to send three files which constituted child pornography

within the meaning of 18 U.S.C. § 2256. The files are described as:

   Filename: IMG_1762.jpg

   Description: Image of a girl with an adult male penis in her mouth. In identifying the

   female depicted in the image as a child, I base this conclusion off her facial features, body

   structure, and body size.

   Filename: IMG_1763.jpg

   Description: Image involving a naked prepubescent female with a pacifier in her mouth,

   and adult male. The prepubescent female is seated on a bed in between the male’s legs and

   is touching the male’s penis with her hand. In identifying the female depicted in the image

   as prepubescent, I base this conclusion off her facial features, body structure and size, and

   lack of breast development.

   Filename: IMG_1764.jpg

   Description: Image of a naked prepubescent girl lying on her back with her legs in the air.

   An individual’s hand is spreading the girl’s vaginal opening and a male’s penis is observed

   in close proximity to the girl’s vaginal/anal area. In identifying the girl depicted in the

   image as prepubescent, I base this conclusion off her body structure and size, and lack of

   pubic hair.

          27.     I continued to communicate with heyyyydude1 on Kik until February 20,

2022. During the conversations, heyyyydude1 advised he was 200lbs, had brown hair, and

blue eyes. Comparing this information to Michael Wilcox’s driver’s license information and

photograph, I observed this information matched his descriptors and the photograph, as

Wilcox is listed as having brown hair, blue eyes, and is in the weight class of 180-200 lbs. I

asked heyyyydude1 to send a picture of himself so I could show it to my fictitious 8-year-old

daughter. Heyyyydude1 advised he did not want to and asked, “like what would u say…this
                                            16
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 17 of 27



dude is gonna fuck you”. Heyyyydude1 continued to inform me, “Don’t tell her…I wanna see

how she react…I said I wanna rape her”.

          28.     On or about February 20, 2022, I observed my Kik conversation with

heyyyydude1 had been moved to a separate area on the Kik application which indicates the

user had blocked me or had been banned by Kik.

          29.     On February 23, 2022, I advised the HSI Undercover Agent I was no longer

able to communicate with heyyyydude1 on Kik. The HSI UCA sent heyyyydude1 a message

on CashApp using the account which was previously used to pay for child pornography,

$istayhi1. The message stated, “what happened ur kik”. The HSI UCA later received a

message from $istayhi1 stating, “got banned id….” (Note: the remainder of the message was

unable to be viewed). The HSI UCA responded, “how can I reach you now” and later

received a message from $istayhi1 stating, “wickrme Bobbyhill65”. Through my training

and experience, I am aware that Wickr Me, commonly referred to as Wickr, is a single end-

to-end encrypted messaging and voice call service in which users can share pictures and

videos. The application is available for iOS and Android devices.

          30.     On February 28, 2022, I messaged Wickr Me account bobbyhill65. Wickr

Me user bobbyhill65 identified himself as the same individual using the Kik account

heyyyydude1 and advised his account got deleted “or something”. bobbyhill65 asked if I

needed any vids and advised he had “some new girl suff (sic) boy stuff too”. I asked

bobbyhill65 if we could continue our conversation on WhatsApp and bobbyhill65 provided

his WhatsApp number as              4322. Through my training and experience, I am aware

that WhatsApp Messenger, or simply WhatsApp, is an internationally available American

freeware, cross-platform centralized instant messaging and voice-over-IP service. The

application is available for iOS and Android devices.

          31.     I conducted a query using the database TLO of the phone number
                                                17
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 18 of 27



    4322 which showed the phone number was associated with Michael Wilcox (DOB:

   1989). I also completed a summons for the phone number                -4322 to obtain

subscriber information. The results of the summons showed the subscriber was Dee Wilcox of

                        Berlin, NJ. With the assistance of HSI Agents in New Jersey, in

collaboration with local law enforcement, Dee Wilcox has been identified as the mother of

Michael Wilcox. The aforementioned account had been open from June 14, 2017 to February

28, 2022, but was currently closed as of February 28, 2022 for non-payment.

          32.     Continuing on February 28, 2022, I began UC conversations on WhatsApp

with the phone number               322. During the conversation, the individual asked me if I

was interested in additional child pornography, advised they had “girl or boy”, and would sell

the files for $25 USD. I asked how old the females in the files were, and they responded, “12

ish….12 and younger”. Initially, a transaction was scheduled for March 3, 2022, but no

transaction occurred.

          33.     On February 28, 2022, I issued an additional summons to Kik to obtain IP

addresses used to access the heyyyydude1 account since February 6, 2022. I later received the

results of the Kik summons and observed the IP address              191 was used to access the

Kik chat network 391 times from February 6, 2022 to February 20, 2022. I identified this IP

address as belonging to Verizon and issued a summons to obtain subscriber information. I

later received the results, which showed the subscriber continued to be Sarah Wothers of

                            Philadelphia, PA. As described in paragraph 39 of this affidavit,

the target Michael WILCOX was observed leaving the apartment complex located at

             in Philadelphia.

          34.     On March 2, 2022, the United States Attorney’s Office for the District of

New Hampshire issued grand jury subpoenas for the PayPal account

           @yahoo.com and CashApp account $istayhi1. I later received the results of the
                                         18
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 19 of 27



subpoena for PayPal and observed the registration information/user information for the

account listed Michael Wilcox (DOB:             1989) as the user and the phone number

    4322, which matched the number I had been communicating with over WhatsApp. There

were four addresses listed, one of which was                           Philadelphia, PA,

19122. This residential address was listed as Wilcox’s “home or work” and is the same

address listed on the IP records used to access the Kik account heyyyydude1 on several

occasions. Lastly, there were several bank account and credit cards associated with the

account all in the name of Michael Wilcox.

          35.     The results of the CashApp subpoena listed the user of the CashApp

account as Michael Wilcox (DOB:              1989). I observed multiple transactions between

Michael Wilcox and Dee Thomas Wilcox / Dee Wilcox, one of which stated in the notes,

“from mom”. The messages between the HSI UCA along with the transaction for child

pornography was present. Lastly, there were multiple messages associated with payments in

which the user tells people to contact him at the phone number             4322 (Note: This is

the same number I have been communicating with over WhatsApp).

          36.     Based on the information obtained, I believe the individual I was

communicating with on Kik who distributed child pornography, the user of the CashApp and

PayPal accounts, the user of the WickrMe account bobbyhill65, and the user I continue to

communicate with on WhatsApp number                    322 which distributed child

pornography, to be Michael Wilcox (DOB:               1989).

          37.     Continuing on March 2, 2022, Wilcox expressed interest in obtaining a

naked photograph of my fictitious 8-year-old daughter. When asked, Wilcox advised he

wanted a picture with her “legs open”. Wilcox also spoke about wanting to engage in sexual

intercourse with my fictitious 8-year-old daughter and described her as “a little toy” with

whom he wanted to have “rough” sex.
                                                19
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 20 of 27



          38.       On March 03, 2022 Wilcox sent me a preview of the child pornography link

on WhatsApp, which had been talked about on February 28, 2022 (paragraph 17). Wilcox

sent three video files, all of which were child pornography within the meaning of 18 U.S.C.

§ 2256. The files are described as:

   Filename: DCAD9773.mp4

   Description: 25-second video of a naked adult male and naked prepubescent girl. The male

   has an erect penis and is standing in front of the prepubescent girl holding her head. The

   male forcefully moves the prepubescent girl’s head towards his penis and attempts to

   insert his penis into her mouth. During this time the prepubescent female is

   screaming/crying. In identifying the female depicted in the video as prepubescent, I base

   this conclusion off her body size, body structure, facial features, and lack of breast

   development.

   Filename: FJNV1100.mp4

   Description: one-minute and four-second video of a prepubescent girl and boy. The video

   starts with the prepubescent female performing oral sex on the male child. As the video

   continues, it transitions to the male child holding his penis in close proximity to the

   prepubescent female’s vaginal area. The last transition shows the male child preforming

   oral sex on the prepubescent female. In identifying the female depicted in the video as

   prepubescent, I base this conclusion off her body size, body structure, facial features, lack

   of breast development, and lack of pubic hair. In identifying the male depicted in the video

   as a child, I base this conclusion off his body size, body structure, facial features, and lack

   of pubic hair.

   Filename: CKZV0445.mp4

   Description: 45-second video of an adult male having vaginal intercourse with a female

   child. In identifying the female depicted in the video as a child, I base this conclusion off
                                                  20
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 21 of 27



   her body size, body structure, facial features, and lack of pubic hair.

          39.     On March 10, 2022, HSI Special Agent Ryan Saraceni observed that the

residence located at                        Philadelphia, Pennsylvania, has a shared common

door that is keypad protected. It appears that the common door is shared with two units inside

the building. At approximately 4:55 p.m., SA Saraceni observed a white female enter and

then exit a short time later using the common door located at

Philadelphia. The individual matched the description of Sarah Wothers. The individual then

entered a dark-colored Honda CRV with the PA license plate                   that was parked

adjacent to the target address. According to a PennDOT registration check, this vehicle is

registered to Sarah Geisinger Wothers at the targeted address. The vehicle departed the area

soon thereafter. At approximately 5:00 p.m., SA Saraceni observed an individual matching

Michael Wilcox's description exit the common door of the target residence carrying a

skateboard and depart on foot.

          40.     Continuing on March 10, 2022, during a conversation on WhatsApp, I

asked Wilcox to send a photograph of himself. Shortly after, I received a selfie-style image of

a male I recognized as Michael Wilcox (DOB:               1989). I was able to identify the

individual as Wilcox by comparing the photograph he sent to his NJ Driver’s License

photograph and a previous arrest photograph from the Lindenwold Police Department.

          41.     On March 11, 2022, while speaking with Wilcox on WhatsApp regarding

the purchase of child pornography, I informed Wilcox I had been paid and Wilcox stated, “U

need vids…I got a bunch…I got a ton of boy”. I proceeded to ask Wilcox how old the

individuals in the videos were and Wilcox responded, “young to teen”. During further

conversations, I informed Wilcox I had $25 USD and Wilcox stated, “I’ll hook it up good”.

Shortly after, Wilcox sent two MEGA links. The first link contained 58 files in a folder titled

“Vidz1” and the second link contained 246 files in a folder titled “blue”. I opened each link
                                               21
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 22 of 27



and observed they contained multiple child pornography files. I downloaded the files from

each folder and observed 175 of the files were child pornography within the meaning of 18

U.S.C. § 2256, that is, the files distributed to me via the MEGA links both contained videos

of prepubescent boys and girls being sexually abused, sexually exploited, and/or engaged in

sexually explicit conduct. I informed the HSI UCA of this information and the HSI UCA

transferred $25 USD to the CashApp account $istayhi1.

          42. I am aware, through my training and experience, that individuals who collect

and traffic in child pornography often maintain their collections over long periods of time and

take measures to safeguard their collections and to avoid detection. I am also aware that

electronic devices such as cell phones are by their very nature portable and often contain a

wealth of highly personal and confidential information that individuals have an interest in

safeguarding. For this reason, individuals often keep their personal electronic devices such as

cell phones on or near their person at all times, or in their home or vehicle.

          43. On March 24, 2022, in the District of New Hampshire, I swore out an arrest

warrant for Michael Wilcox which was reviewed and signed into effect by United States

Magistrate Judge Andrea Johnstone.

          44. On March 29, 2022, in the Eastern District of Pennsylvania, I swore out a

search warrant for the person of Michael Wilcox and any electronics found on his person.

The search warrant was reviewed and signed into effect by United States Magistrate Judge

David Strawbridge.

          45. On March 30, 2022 members of HSI and I began surveillance of 164 W Norris

Street, Philadelphia, PA. During the surveillance, we observed Sarah Wothers exit the

building. SA Josh Conrad and I made contact with Wothers who advised she lived alone in

her apartment and that she had provided her upstairs neighbor with the password for her

wireless internet. I showed Wothers a picture of Michael Wilcox and she informed us this
                                                22
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 23 of 27



was the individual she had provided the wireless internet information to.

          46. Continuing on March 30, 2022, members of HSI and I responded to the third

floor apartment and knocked on the door. A male, later identified as Perry Snell, answered

and advised that Michael Wilcox was asleep within the apartment. Snell advised Agents they

could enter the apartment to speak with Wilcox. Agents entered the apartment and located

Wilcox asleep on a couch in a bedroom off the living room. On the couch beside Wilcox,

agents observed a red iPhone tucked beside Wilcox’s upper body near his chest area. Agents

also observed on the floor beside the couch within arms’ reach of Wilcox a second iPhone

that was orange in color. Wilcox was placed under arrest, and both iPhones were seized,

secured, and transported to HSI Philadelphia.

          47. Once back at HSI Philadelphia, SA Slocum, SA Saranceni, and I conducted an

interview with Wilcox, who waived his Miranda Rights, and agreed to speak with us. During

the interview, Wilcox acknowledged ownership of both of the aforementioned iPhones and

provided consent to search both devices. Wilcox advised that the red iPhone was his

primary/current phone. He admitted that the Kik account heyyyydude1, the Wickr account

bobbyhill65, and the WhatsApp account associated with the phone number                 4322

all belonged to him. Wilcox further advised that he had used the red iPhone to access the

aforementioned accounts and to distribute child pornography. Wilcox also believed there may

be child pornography on the orange iPhone which was an older phone he formerly used.

          48. During the interview of Wilcox, he advised that his Wickr account was set to

automatically delete messages after a certain period of time. He also advised that the screen

was only partially working, as a result of which I found I was unable to place the device in

airplane mode. With Wilcox’s consent, and in light of concerns about the potential loss of

evidence from Wilcox’s Wickr account, I conducted a forensic extraction of the red iPhone at

HSI Philadelphia. The extraction has not yet been reviewed by myself or any other law
                                                23
         Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 24 of 27



enforcement officer. Both iPhones were transported to HSI Manchester, NH.

                                          CONCLUSION

          49.     Based on the aforementioned factual information, I respectfully submit that

there is probable cause to believe that evidence, fruits, and instrumentalities of the crimes of

distribution and transportation of child pornography in violation of 18 U.S.C. 2252(a)(1), (a)(2)

and 18 U.S.C. 2252A(a)(2), 2252A(a)(1) may be located on the SUBJECT DEVICES. I

therefore seek a warrant to search the SUBJECT DEVICES, and to seize the items described in

Attachment B.



                                                   /s/ Adam Rayho
                                                   Adam Rayho
                                                   Task Force Officer
                                                   Homeland Security Investigations

The affiant appeared before me by telephonic conference on this date pursuant to Fed. R. Crim.
P. 4.1 and affirmed under oath the content of this affidavit and application.




Honorable Andrea K. Johnstone
United States Magistrate Judge
District of New Hampshire

Dated: April 01, 2022




                                                 24
        Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 25 of 27




                                     ATTACHMENT A

                     DESCRIPTION OF ITEMS TO BE SEARCHED

The items to be searched include one red iPhone and one orange iPhone seized from the

bedroom of Michael Wilcox at                       Philadelphia, PA, and now in the custody

of HSI Manchester at 275 Chestnut Street, Manchester, NH.

The SUBJECT DEVICES are pictured below:




                                             25
            Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 26 of 27




                                         ATTACHMENT B

                                      ITEMS TO BE SEIZED

        The following materials, which constitute evidence of the commission of a criminal

 offense, contraband, the fruits of crime, or property designed or intended for use or which is or

 has been used as the means of committing a criminal offense, namely violations of Title 18,

 United States Code, Sections 2252(a)(1), (a)(2), 2252A(a)(2) and 2252A(a)(1):

       1.      All records relating to violations of 18 U.S.C. Sections 2252(a)(1), (a)(2),

2252A(a)(2) and 2252A(a)(1) in any form they may be found, including:

                a.      records and visual depictions of minors engaged in sexually explicit
                        conduct as defined in 18 U.S.C. § 2256;
                b.      records or information pertaining to an interest in child pornography;
                c.      records or information pertaining to the possession, receipt, transportation,
                        or distribution of visual depictions of minors engaged in sexually explicit
                        conduct, as defined in 18 U.S.C. § 2256;
                d.      records or information of and relating to visual depictions that have
                        been created, adapted, or modified to appear that an identifiable minor is
                        engaging in sexually explicit conduct as defined in 18 U.S.C. § 2256,
                        including the record or information used to create the visual depiction;
                e.      records or information pertaining to file transfer-sharing applications and message
                        communication platforms, including Kik, Wickr, Whatsapp, and Mega;
                f.      records or information pertaining to CashApp and/or PayPal;
                g.      photo-editing software and records or information relating to photo-editing
                        software;
       2.      From within the SUBJECT DEVICES:




                                                     26
          Case 1:22-mj-00052-AJ Document 1-1 Filed 04/01/22 Page 27 of 27

                 a.     evidence of who used, owned, or controlled the SUBJECT DEVICE
                        at the time the things described in this warrant were created,edited, or
                        deleted, such as logs, registry entries, configuration files, saved
                        usernames and passwords, documents, browsing history, user
                        profiles, email, email contacts, “chat,” instant messaging logs,
                        photographs, and correspondence;
                 b.     evidence of software that would allow others to control the SUBJECT
                        DEVICE, such as viruses, Trojan horses, and other formsof malicious
                        software, as well as evidence of the presence or absence of security
                        software designed to detect malicious software;
                 c.     evidence of the lack of such malicious software;
                 d.     evidence of the attachment to the SUBJECT DEVICE of other
                        storage devices or similar containers for electronic evidence;
                 e.     evidence of counter-forensic programs (and associated data) that are
                        designed to eliminate data from the SUBJECT DEVICE;
                 f.     evidence of the times the SUBJECT DEVICE was used;
                 g.     passwords, encryption keys, and other access devices that may be
                        necessary to access the SUBJECT DEVICE;
                 h.     documentation and manuals that may be necessary to access the
                        SUBJECT DEVICE or to conduct a forensic examination of the
                        SUBJECT DEVICE;
                 i.     contextual information necessary to understand the evidence described in
                        this attachment.


    As used above, the terms “records” and “information” include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored, including

any form of computer or electronic storage (such as hard disks or other media that can store data);

any handmade form (such as writing, drawing, painting); any mechanical form (such as printing or

typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).
